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                EXHIBIT C
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From:             Alter-AI-TT@simplelists.susmangodfrey.com on behalf of Geman, Rachel
To:               openaicopyrightlitigation.lwteam@lw.com; OpenAICopyright@mofo.com; KVPOAI@keker.com
Cc:               Alter-AI-TT@simplelists.susmangodfrey.com
Subject:          [EXT] Authors v. OAI: M/C on OAI"s Objections to Plaintiffs" 5th Set of RFPS (RFP No. 98)
Date:             Thursday, September 19, 2024 5:58:57 PM


Counsel:

Thank you for serving your responses and objections to Plaintiffs’ 5th Set of Requests (RFP No.
98). We do not believe your objections are well taken, and request a time to meet and confer next
week if you are standing on them.

First, the request is not overbroad or vague, as it is limited to specific areas of concerns raised by 23
specifically-identified individuals. Each person has either been public about concerns with relevant
issues to the case, or is the subject of documents or reporting leading to that inference. Indeed, we
issued this very specific request in part based on your stated concerns about RFP Nos. 7-9 (which are
still at issue).

Second, we do not agree with the relevance objections. You implicitly acknowledge that at least
some of the individuals raised concerns about issues that you agree are relevant to this case, yet you
have not agreed to produce responsive documents about any of them. In addition, it seems you are
redefining the issues in the case in your relevance objections: (a) this case is not limited to models
that were used for ChatGPT, so the fact that someone may have raised relevant complaints or
concerns about other models (or even only about other models) does not matter; and (b) you have
not stated which categories of information are outside the scope of the case.

Third, your statement that you have already agreed to produce other documents - we observe that
you stopped short of representing that are producing documents responsive to RFP No. 98 - is
circular (to the extent that your concerns about and objections to earlier requests is in part what
prompted this specific request) and also misplaced. Specifically, you cited RFP Nos. 7-9, 25, 27, 28,
95, and 96.
              -          7-9 - these have been the subject of extensive back-and-forth, and we are waiting
                        on your response to our Sept. 17 email;
              -          25, 27, 28 - these are not duplicative. In RFP No. 25, you only have agreed to
                        produce formal written complaints (though it is not clear whether you have done so,
                        given your statements in the m/c); in RFP No. 27, you have only agreed to produce
                        documents about filtering, rather than any complaints or responses; and RFP No. 28
                        does not have sufficient overlap to be a substitute;
              -          Finally, RFP No. 95 was about comments by Mr. Altman to Senator Thomas Tillis—an
                        entirely different person than any of the 23 at issue—and your response to RFP No.
                        96 was limited to your responses to him. We note that these responses are also the
                        subject of current disputes.

Notwithstanding the above concerns, we want to work cooperatively to obtain the materials to
which we are entitled. If your upshot position is that you are producing or have produced responsive
documents to RFP No. 98, please identify the bates numbers of those documents by Sept. 24, so we
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can review in advance of the status letter. In that case, you should supplement the responses so this
is clear.

If, however, you are standing on your objections to search for and produce documents, please
provide time for a meet and confer next week, as requested above, and please come prepared to
explain why your responses to the identified eight requests are adequate to discharge your
obligations under this request.

Best, Rachel




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